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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION
EARL PARRIS, JR., individually, and
on behalf of a Class of persons
similarly situated,

       Plaintiff, and                       CIVIL ACTION FILE NO.:
                                            4:21-cv-00040-TWT
CITY OF SUMMERVILLE, GA.,

       Intervenor Plaintiff,

v.

3M COMPANY, DAIKIN
AMERICA, INC., HUNTSMAN
INTERNATIONAL, LLC, PULCRA
CHEMICALS, LLC, MOUNT
VERNON MILLS, INC., TOWN OF
TRION, GEORGIA, RYAN
DEJUAN JARRETT, and E.I. DU
PONT DE NEMOURS AND
COMPANY; and THE CHEMOURS
COMPANY;

       Defendants.

      INTERVENOR PLAINTIFF CITY OF SUMMERVILLE, GEORGIA
     JOINDER IN PLAINTIFF’S SECOND AMENDED INDIVIDUAL AND
                    CLASS ACTION COMPLAINT

       COMES NOW, the Intervenor-Plaintiff in this case, the City of Summerville,

Georgia (“Summerville” or “City”), and HEREBY joins in the filing of Plaintiff’s

Amended Complaint, adding E.I. DU PONT DE NEMOURS AND COMPANY

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(“Dupont”) and      THE CHEMOURS COMPANY (“Chemours”) as additional

parties, pursuant to the Scheduling Order [Doc. 187], Fed. R. Civ, P. 15 and LR 15

NDGa. Summerville furthers adopts and incorporates the relevant provisions of

Plaintiff’s Second Amended Individual and Class Action Complaint [Doc. 280] and

new allegations against DuPont and Chemours by reference.

                               RELIEF DEMANDED

      WHEREFORE, Summerville respectfully requests this Court grant the

following relief:

      a) Enter Judgment in its favor;

      b) Award Summerville damages in an amount to be determined by a jury

          sufficient to compensate it for real property damage, out-of-pocket

          expenses, lost profits and sales, and future expenses;

      c) Issue an injunction requiring Defendants to abate their nuisance and/or

          otherwise remove their chemicals from Summerville’s water supply and to

          prevent these chemicals from continuing to contaminate Summerville’s

          water supply;

      d) Award punitive damages;

      e) Award attorney fees and costs and expenses incurred in connection with

          the litigation of this matter; and


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 f) Award such other and further relief as this Court may deem just, proper,

    and equitable.

                          JURY DEMAND

SUMMERVILLE HEREBY DEMANDS A TRIAL BY JURY ON ALL
              ISSUES OF THIS CAUSE.


 Respectfully submitted this the 21st day of November, 2022.

                                /s/ J. Anderson Davis
                                J. Anderson Davis (Ga. Bar No. 211077)
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                                /s/ Jeffrey E. Friedman
                                Jeff Friedman (Pro Hac Vice)
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                     CERTIFICATE OF COMPLIANCE

      Pursuant to Northern District of Georgia Civil Local Rule 7.1.D., the

undersigned counsel certifies that the foregoing filing is prepared in Times New

Roman 14-point font, as mandated in Local Rule 5.1.C.




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                          CERTIFICATE OF SERVICE

      I hereby certify that I have served a copy of the within and foregoing

Intervenor Plaintiff City of Summerville, Georgia Joinder in Plaintiff’s Second

Amended Individual and Class Action Complaint was electronically filed with

the Clerk of Court using the CM/ECF system, which automatically serves

notification of such filing to all counsel of record.

      This 21st day of November, 2022.

                                      BRINSON, ASKEW, BERRY, SEIGLER,
                                      RICHARDSON & DAVIS, LLP

                                      /s/ J. Anderson Davis
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